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AO 91 (Rev. 02/09) Criminal Complaint

 

 

UNITED STATES DIsTRICT CoURT

for the
District of Arizona
United States of America )
§ y /
§ A>\t:\\ v. ) CaseNo. [5/'({/@1"/1\3
§ Q\/§/ Eric Stacy Todd, )
\5 ~ USC )
Defendant )

CRIMINAL COMPLAINT

I, the undersigned complainant, being duly swom, state that the following is tiue and correct to
the best of my knowledge and belief.

Count 1:

On or about October 22, 2017, at or near Eloy, in the County of Pinal, in the District of
Arizona, Eric Stacy Todd, knowing and with reckless disregard of the fact that certain aliens, Javier
DeJesus-Gasper and Joaquini Guerro~Eugeno, had come to, entered, and remained in the United
States in violation of law, did transport and move said aliens within the United States by means of
transportation and otherwise, in furtherance of such violation of law; in violation of Title 8, United
States Code, Section l324(a)(l)(A)(ii).

Count 22

On or about Gctober 22, 2017, at or near Eloy, in the County of Pinal, in the District of
Arizona, Eric Stacy Todd, did aid and abet certain aliens to evade and elude examination and
inspection by Immigration Officers of the United States of America; in violation of Title 8, United
States Code, Section 1325(a)(2) and Title 18, United States Code, Section 2.

See Attached Statement of Probable Cause 1 rporated By Reference Herein.

   

 

Sighawre of Complainant
Albert A. Martinez
U.S. Border Patrol Agent

SwoWe, this 23rd day of October, 2017.

/§ignature of Judicial Officer
Honorable Michelle H. Bums
United States Magistrate Judge

 

 

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STATEMENT OF PROBABLE CAUSE

l, Albert A. Martinez, being duly sworn, hereby depose and state as follows:

l. Your affiant is a Border Patrol agent with U.S. Border Patrol, U.S. Customs and

Border Protection. l have learned about this investigation and the facts contained
' therein from direct participation in the investigation and from the reports and
communications of other age.

2. On October 22, 2017, Border Patrol Agent (BPA) M. Mercier along with BPA A.
Wolters, were performing their assigned Border Patrol duties near Chuichu, Arizona.
BPA Mercier and BPA Wolters are part of the Casa Grande Station Disrupt Unit
tasked with identifying and apprehending members of human and narcotic smuggling
organizations, who often utilize vehicles, in the Casa Grande Area of Responsibility
(AOR). Federal Route 15 (FRlS) is a federal route that runs through the Tohono
0'odham Nation (TON). FR15 has frequently been utilized by smuggling
organizations to shuttle and transport illegal aliens and narcotics of the TON and
further them into the United States. Smuggling organizations will often drive south
onto the TON, pick up the illegal aliens or narcotics and return north of the
reservation a short time later. As of recent, the Casa Grande AOR has seen a rise in
vehicles dropping off illegal aliens south of the Casa Grande Station immigration
checkpoint Drivers will then wait for the illegal aliens to walk around the checkpoint

through the desert and then pick them up at a later time near FR15 to further their

 

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travel into the U.S.

. At approximately 7:0() P.M., BPA Mercier and BPA Wolters were observing vehicle
traffic, in unmarked Department vehicles, entering and leaving the TON at the
intersection of FR15 and Battaglia Rd. At approximately 7:25 P.M., BPA Mercier
observed a gold Chevrolet Equinox head southbound past his location out of his point
of view onto the TON. A short time later, he observed the same gold Equinox
proceeding northbound on the reservation At this time, the driver of the Equinox
started to tap his brakes and slow down appearing unsure about whether he wanted to
go northbound or turn eastbound onto Battaglia Rd. The driver of the Equinox then
slowed down and turned eastbound. As the driver was turning, BPA Mercier
observed what appeared to be two people in the vehicle. The male driver appeared to
be overtly looking away and the passenger appeared to be slouched down in the seat.
At this point, BPA Mercier notified BPA Wolters that he had observed the equinoX
southbound on FRlS and it was now already back northbound in a short period of
time. This manner of driving is common for how smuggling organizations operate.
The vehicle will often head south on the TON and pick up illegal aliens or narcotic
smugglers who are waiting nearby off FRlS. The driver will often call when they are
in the area and the illegal aliens will come out to the road and get picked up. The
driver will then proceed back north off the TON and deliver the illegal aliens to an

alternate location.

 

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4. As BPA Mercier pulled out from his location it appeared that the driver started to
speed up and accelerate at a high rate of speed, as the distance between them was
expanding greatly. As BPA Mercier sped up to catch the driver, he observed the
driver speed pass a vehicle traveling eastbound on Battaglia Rd. Approximately 4
miles later, BPA Mercier was able to catch up to the driver and observe the vehicles
license plate number. At this time, BPA Mercier ran a registration check on Arizona
license plate BZLO354 through Tucson Sector radio. Sector radio advised that the
vehicle was a 2005 Chevrolet Equinox registered to Reina Faviola Grdonez at 358
East Rosser Rd., Apartment 294, Phoenix, AZ 85040. As BPA Mercier continued to
follow the driver, they approached Sunland Gin Rd. The driver appeared as if he was
going to continue eastbound before moving over to the turn lane at the last second.
The driver proceeded to turn and travel northbound on Sunland Gin Rd. The driver‘s
mannerisms while leaving the TON, on Battaglia Rd. and turning onto Sunland Gin
Rd, seemed to indicate an indecisiveness on where to go. 4

5. At approximately 7:45 P.l\/l., BPA Mercier performed an investigative traffic stop on
the Chevy Equinox BZL()354. As he approached the vehicle from the passenger side,
he observed a male driver, male passenger occupant slouching down with his head
down, and two males lying down on the back seat with their hands over their
eyes/head, in an attempt to hide. All three individuals presented characteristics
consistent with illegal aliens who had just recently traveled through the desert. A bag

was observed on the floor of the back seat filled with camouflage clothing, which is

 

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utilized by illegal aliens as they make their passage through the desert. At this point,
BPA Mercier identified himself as a United States Border Patrol agent and asked the
driver, later identified as Eric Stacy Todd where he was coming from and he stated the
reservation. BPA Mercier asked him if he knew his passengers and he stated no.
BPA Mercier asked Todd his citizenship and he stated, "United States". As BPA
Mercier was talking to Todd, he realized that he was the subject of a Border Patrol
investigation from the previous night. Agents had encountered Todd near the
immigration checkpoint on FR 15 and believed he was attempting to pick up illegal
aliens near the checkpoint Tohono O'odham Police Offrcers took custody of Todd
and his vehicle and issued him a trespassing ticket for being unlawfully present on the
reservation

. BPA Mercier determined all the other occupants in the vehicle, later identified as
Javier DeJesus-Gasper, Joaquini Guerro-Eugeno, and one unaccompanied juvenile
male as citizens and nationals of Mexico present in the United States illegally without
any immigration documents All subjects were placed under arrest and transported to
the Casa Grande Border Patrol Station for further processing

. Once at the Casa Grande Border Patrol station, Eric Stacy Todd was read his Miranda
warning as to rights and given form 1-214 at 10:50 P.M., by BPA M. Bergeron and
witnessed by BPA A. Sulli.

. On October 22, 2017, BPA Bergeron and BPA Sulli interviewed Todd at the Casa

Grande Border Patrol Station after he was read his Miranda Rights. Todd

 

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acknowledged that he understood his rights and agreed that he was free from promises
or coercion to talk with agents without the presence of an attorney. Below is a
synopsis of his interview.

9. Todd`s interview began at 10:53 P.M., on October 22, 2017. Eric Todd stated that
after taking a wrong turn, he had picked up three people on the side of the road who
had flagged him down. He stated that they needed a ride to the Loves gas station on
Sunland Gin Rd. in Eloy, Arizona. He originally stated that he did not know they
were illegal aliens and arranged (on the Side of the road) for them to pay him $20.00
USD for the ride. After approximately 25 minutes of questioning, BPA Bergeron l
concluded the interview and stopped the recording because he determined that Todd
was not being truthful.

l(). While BPA Bergeron and BPA Sulli were getting ready to leave the interview room,
BPA Sulli mentioned to Todd that they were part of a team that has extensive
experience with both alien and drug smuggling activities in the area. BPA Sulli stated
further that he did not believe Todd's story. Todd then stated that he was supposed to
drop off the three people that he had in his car. Todd admitted to having arranged
through the dark web a meet to obtain some "quick cash". Through a friend finding
the job on the dark web, Todd was hired to smuggle illegal aliens. In order to obtain
details about his job he arranged to meet an "older lady" who gave him a Samsung
phone. With that phone, Todd then received directions via text messages to pick up

illegal aliens on the side of the road at mile marker 84 of State Route 86 (SR86) on

 

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October 21, 2017. Todd stated that he drove them north on FRl5 and dropped them
off in a small village identified as North Komelic, Arizona. After dropping them off,
he was encountered by Border Patrol agents who found Todd driving a Honda Pilot
that Todd borrowed from a friend. Todd went on by stating that he had instructions to
pick-up the same three people again at mile marker 42 on FR15 the next night,
October 22, 2017, the night he was arrested. Todd stated he was going to get paid
$1,000 USD in exchange for driving the three illegal aliens to a Walmart in west
Phoenix. Todd stated that he had arranged for his payment to be hidden in the parking
lot area of that same Walmart.

On October 22, 2017, at approximately ll:l6 P.M., Supervisory Border Patrol Agent
(SBPA) C. Muniz and BPA J. Coman conducted an interview with Javier DeJesus-
Gaspar. De.lesus~Gaspar was interviewed as a material witness in the case against

Todd. The following narrative is a synopsis of DeJesus-Gaspar's statement.

lZ.DeJesus-Gaspar claims he is from'Puebla, Mexico, and he made arrangements with

some friends in Puebla, to help him travel to the United States. DeJesus-Gaspar Was
unable to identify his friends by name. He did mention that one of the subjects that
assisted him was known as Taliban. Taliban is a common moniker that some
smugglers use. DeJesus-Gaspar claims that Taliban assisted him in traveling from
Puebla to Caborca. He agreed to pay Taliban $4,000 USD to be smuggled to Santa
Rosa, California. He claims that Taliban transported him to the United States/Mexico

border. DeJesus-Gaspar claims he was placed in a group with two other subjects and a

 

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foot guide. He was not able to identify the foot guide by name or moniker.

l3. DeJesus-Gaspar claims he walked with a group and illegally entered the United States.
They climbed several mountains; however, he was not able to keep pace with his
group and was subsequently lost. He claims that he was able to spot a road and walk
towards the road from the mountain he was on. Upon arriving at the road, he met up
with two other Mexican nationals that agreed to help him travel north into the United
States. After joining the two subjects, he claims they walked to a road and waited
several hours for a vehicle to transport them north. He claims that when the vehicle
arrived, they were ordered to get in, and the driver transported them north. He was not
sure where he was taken but he claims the driver mentioned a landmark called 71 or
72. This was possibly a mile marker on SR86. He claims they were told to exit the
vehicle and wait for another vehicle to transport them north.

l4.ln total, DeJesus-Gaspar claims he was transported in three different vehicles The
third vehicle was being driven by Todd. He claims that he believed Todd knew he was
an illegal alien based on his condition He was not able to communicate directly with
Todd; however, he did hear Todd state "Oh my God!" when he was being stopped by
Border Patrol agents. After entering the vehicle that Todd was driving, De]esus-
Gaspar claims the vehicle never stopped until it was stopped by Border Patrol agents.
DeJesus-Gaspar claims Todd was going to transport him to Phoenix, Arizona. Todd
was in contact with someone on his phone during the time he was transporting

DeJesus~Gaspar.

 

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l5.DeJesus-Gaspar was shown a photo lineup with photos of six subjects DeJesus-
Gaspar was unable to identify anyone in the lineup. DeJesus-Gaspar’s timeline and
description of events did not match the other material witness or the principal's
statement DeJesus was also unable to accurately describe the color of the vehicle he
was traveling in at the time of his apprehension

16 . On October 22, 2017, BPA J. Delatorre, as witnessed by BPA E. Castorena, conducted
a custodial interview on Joaquini Guerro-Eugeno The following is a Written synopsis
by BPA Delatorre of the videotaped sworn statement taken before him at the Casa
Grande Border Patrol Station.

l7. Guerro-Eugeno stated that he was born June 23, 1999. Guerro-Eugeno stated that he is
from Puebla, Mexico. Guerro-Eugeno stated that he entered illegally into the United
States and that he does not possess any documents that would allow him to stay, visit
or live in the United States legally. Guerro-Eugeno stated that he traveled from his
home state of Puebla to Mexicali. Guerro-Eugeno stated that in Mexicali, he made
arrangements with a group of smugglers. Guerro~Eugeno stated that near the border,
he paid $7,0()0.00 MXN Pesos for the "cuota" (mafia fee). Guerro-Eugeno Stated that
his group crossed the border approximately ll:OO P.M.

18. Guerro-Eugeno stated that their foot guide explained that the load vehicle was going
to arrive and that only three individuals were going to mount the vehicle. Guerro-
Eugeno stated that when the vehicle arrived, he was able to see the color of the

vehicle. Guerro-Eugeno stated that he thought that the vehicles color was brown or

 

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light brown. Guerro-Eugeno stated that the windows on the vehicle weren't tinted.
Guerro-Eugeno stated that the foot guide told them that the driver was going to
transport them further north to a building. Guerro-Eugeno stated that he then mounted
the vehicle and that he positioned himself on towards the back side of the vehicle.

19. Guerro-Eugeno stated the driver transported them for approximately thirty minutes
before they were stopped by Border Patrol. Guerro-Eugeno stated during the drive,
the driver did talk to them but he didn’t understand what he was saying since he was
speaking in a different language Guerro-Eugeno stated that he believed that the
driver spoke English. Guerro-Eugeno stated that when the vehicle came to a stop, he
initially did not know that Border Patrol had stopped them. Guerro-Eugeno stated that
he only realized that Border Patrol stopped them when he saw individuals with
flashlight looking into the vehicle through the windows Guerro-Eugeno stated that
they were then pulled out of the vehicle and placed under arrest.

20.Guerro-Eugeno stated that during the stop, no one ran out of the vehicle and that
everyone that was in the vehicle was apprehended, including the driver. Guerro-
Eugeno stated when the Border Patrol dismounted everyone out of the vehicle,
Guerro-Eugeno was able to see the driver for a couple of seconds Guerro-Eugeno
stated the Border Patrol then placed everyone under arrest and escorted everyone to
separate transport vehicles v

21. Guerro-Eugeno stated that once the driver took them to their destination, he was

going to then call a number and get an account number. Guerro-Eugeno stated that he

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was going to have to then deposit $140,000.00 MXN pesos

22.Guerro-Eugeno Was shown a photo line-up folder with photos of six (6) subjects
numbered one to six affixed inside. Guerro-Eugeno was asked that if he recognized a
person in the line-up, to explain who that person was and how he knows that person.
Gueiro-Eugeno was told that he was under no obligation to identify anyone and that it
was perfectly fine if he did not recognize anyone in the group of pictures

23. At first, Guerro-Eugeno identified box number two (2) as the driver, but then changed
his mind and selected box number one (l). Guerro-Eugeno stated that both
individuals from boxes number one (l) and two (2) looked very similar. Gueiro~
Eugeno stated that both individuals match the description and that at this point he
wasn't sure if the driver was the individual from box one (l) or box two (2). Guerro-
Eugeno stated that he wasn't sure if it was one or two because he was only able to see
his face for a couple of seconds Guerro-Eugeno was asked if given the opportunity to
physically see him again; he would be able to recognize the driver again. Guerro-
Eugeno stated that he thinks so. Gueri‘o-Eugeno then pointed to and circled the photo
in box number one (l). Guerro-Eugeno identified the subject in box number one (l)
as the male driver of the light brown vehicle. The photo in box number two (2) is a
picture of the defendant, Eric Todd. Guerro~Eugeno was not able to identify the
driver on the six pack and selected the wrong picture, the picture in box number one
(1).

24. Guerro-Eugeno affirmed that all statements were given freely and voluntarily, and

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that no threats, coercion, and/or promises were made.

25.Based on the above stated facts, your affiant submits that there is probable cause to
believe that on or about October 22, 2017, at or near Eloy, Arizona in the County of
Pinal, in the District of Arizona, Eric Stacy Todd, knowingly and with reckless
disregard of the fact that certain aliens, lavier Delesus~Gasper and Joaquini Guerro~
Eugeno, had come to, entered and remained in the United States in violation of law, did
transport and move said aliens within the United States by means of transportation and
otherwise in furtherance of such violation of law; in violation of Title 8, United States
Code, Section 1324(a)(l)(A)(ii) and Section l325(a)(2) and Title 18, United States
Code, Sectio s2.i\

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Signature of Compfainant
Albert A. Martinez
U.S. Border Patrol Agent

Sworn to before me and subscribed in my presence, this 23rd day, of October, 2017

W/ZW`

Signature of Judicial Officer
Honorable Michelle H. Burns
United States Magistrate Judge

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